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         Last statement: September 30, 2020                    Page 1 of 2
         This statement: October 30, 2020                      3003731175
         Total days in statement period: 30                    ( 0)




         INFRASTRUCTURE SOLUTION SERVICES INC
         DEBTOR-IN POSSESSION
         CASE # 1:19-BK-03915-HWV
         10011 SANDMEYER LN
         PHILADELPHIA PA 19116




         Account number                    3003731175
         Low balance                           $448.48
         Average balance                     $1,607.39
         Avg collected balance                  $1,607




         09-30     Beginning balance                                             $2,492.36
         10-08   ' Cash Mgmt Trsfr Cr               8,000.00                     10,492.36




         10-08   ' Outgoing Wire Fee                                    -15.00   10,477.36



         10-08   ' Outgoing Wire Fee                                    -15.00   10,462.36



         10-08   ' Bus Exp Wire Out Nr                               -4,217.39    6,244.97



         10-08   ' Bus Exp Wire Out Nr                               -2,364.49    3,880.48



         10-13   ' Preauthorized Debit                                 -332.00    3,548.48



         10-14   ' Cash Mgmt Trsfr Dr                                -3,000.00     548.48




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         INFRASTRUCTURE SOLUTION SERVICES INC                                 Page 2 of 2
         October 30, 2020                                                     3003731175



         10-16   ' Cash Mgmt Trsfr Dr                          -100.00                  448.48




         10-30




                                                  Total for                 Total
                                                 this period             year-to-date

           Total Overdraft Fees                       $0.00                   $144.00

           Total Returned Item Fees                   $0.00                   $180.00




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         Last statement: October 30, 2020                       Page 1 of 2
         This statement: November 30, 2020                      3003731175
         Total days in statement period: 31                     ( 0)




         INFRASTRUCTURE SOLUTION SERVICES INC
         DEBTOR-IN POSSESSION
         CASE # 1:19-BK-03915-HWV
         10011 SANDMEYER LN
         PHILADELPHIA PA 19116




         Account number                     3003731175
         Low balance                              $1.24
         Average balance                        $453.07
         Avg collected balance                     $453




         10-30     Beginning balance                                               $448.48
         11-03   ' Cash Mgmt Trsfr Cr                4,000.00                     4,448.48




         11-03   ' Assisted Transfer                                  -3,592.24    856.24

         11-10   ' Cash Mgmt Trsfr Cr                1,400.00                     2,256.24




         11-10   ' Preauthorized Debit                                  -166.00   2,090.24



         11-12   ' Preauthorized Debit                                -1,950.00    140.24



         11-30   ' Cash Mgmt Trsfr Dr                                   -139.00      1.24




         11-30




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                                                 Total for          Total
                                                this period      year-to-date

           Total Overdraft Fees                      $0.00            $144.00

           Total Returned Item Fees                  $0.00            $180.00




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         Last statement: November 30, 2020                          Page 1 of 2
         This statement: December 31, 2020                          3003731175
         Total days in statement period: 31                         ( 0)




         INFRASTRUCTURE SOLUTION SERVICES INC
         DEBTOR-IN POSSESSION
         CASE # 1:19-BK-03915-HWV
         10011 SANDMEYER LN
         PHILADELPHIA PA 19116




         Account number                      3003731175
         Low balance                               $1.24
         Average balance                       $2,943.91
         Avg collected balance                    $2,943




         11-30     Beginning balance                                                          $1.24
         12-10   ' Cash Mgmt Trsfr Cr                      100.00                            101.24




         12-10   ' Preauthorized Debit                                       -25.00               76.24



         12-11   ' Cash Mgmt Trsfr Cr                  5,000.00                             5,076.24




         12-15   ' Cash Mgmt Trsfr Cr                  6,000.00                            11,076.24




         12-21    Check   35                                             -10,052.84         1,023.40
         12-21    Check   33                                                -613.64           409.76
         12-30    Check   34                                                 -48.00           361.76
         12-31




         33               12-21               613.64    35                 12-21      10,052.84
         34               12-30                48.00




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         INFRASTRUCTURE SOLUTION SERVICES INC                         Page 2 of 2
         December 31, 2020                                            3003731175




                                                 Total for          Total
                                                this period      year-to-date

           Total Overdraft Fees                      $0.00            $144.00

           Total Returned Item Fees                  $0.00            $180.00




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